IN THE UNITE]) STATES BANKRUPTCY COURT
FOR 'I`HE DISTRIC'I` OF DELAWARE

 

fn re: Chapter 1 1
DAVID’s BRr`r)AL, INC., er ar.,l case NQ. 18_12635 (Lss)
Debtors. Jointiy Adrninistered

RE: Docket No. 11

 

 

ORDER (A) SCHEI}ULING COMBINED HEARING TO CONSIDER (I) APPROVAL
OF DISCLOSURE STATEMENT, (II) APPROVAL OF SOLICITATION PROCEDURES
AND FORMS OF BALLO'I`S, AND (III) CONFIRMATION OF PREPACKAGED PLAN;

(B) ESTABLISHING AN OB.]ECTION DEADLINE TO OBJECT TO DISCLOSURE
STATEMENT AN]) PLAN; (C) APPROVING THE FORM AND MANNER OF NOTICE
()F COMBINED HEARING, OBJECTION DEADLINE, AND NOTICE OF
COMMENCEMENT; (I)) APPROVING NOTICE AND OBJECTI()N PROCEDURES
FOR THE ASSUMPTION OF EXECUTORY CON'I`RACTS AND UNEXPIRED
LEASES; (E) EXTENDING TIME, AND UPON PLAN CONFIRMATION, WAIVING ()F
REQUIREMENTS TO (I) CONVENE SECTION 341 MEETING, AND (II) FILE
STATEMENTS OF FINANCIAL AFFAIRS AND SCHEDULES OF ASSETS AND
LIABILITIES; AND (F) GRANTING RELATED RELIEF

Upon the motion (the “Mot;ion”)2 of the Debtors, pursuant to Seetions 105, 341, 1125,
1126, 1128, and 1129 of the Bankruptcy Code, Bankruptcy Rules 1007, 2002, 3016, 3017, 3018,
3020 and 9006, and Local Rules 1007~1, 30]7-1, 3018-1, 3018~2 and 9006-1, for entry of an
order (a) Scheduiing a Cornbined Hearing to consider (i) the adequacy of the Disclosure
Statement (the “Disclosure Statement”) for the Debtors’ Joint Prepackaged Chapter‘ 11 Plan of

Reorgam`zation under Chapter ll of the Bankrupfcy Code (the “Prepackaged Plan”) and the

 

The Debtors in these cases, aieng With the last four digits of each Debtor’s federal tax identification number,
are: David’s Bridai, lnc. (4563); DB Investors, lne. (8503); DB Holdco, Inc. (4567); and DB Midco, Inc.
(3096). The location of the Debtors’ corporate headquarters is 1001 Washington Street, Conshohocken,
Pennsylvania 19428.

Capitalized terms used herein but not otherwise defined herein shali have the meanings ascribed to such terms
in the Motion.

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Solicitation Procedures, and (ii) confirmation of the Prepackaged Plan; (b) establishing
procedures for objecting to the Disclosure Statement, the Solicitation Procedures and the
Prepackaged Pian; (c) approving the form, manner and sufficiency of notice of the Combined
Hearing and commencement of these chapter 11 cases; (d) approving the Assurnption Notice and
related objection procedures for the assumption of executory contracts and unexpired leases; (e)
extending time for the Debtors to (i) tile the Scheduies and Staternents through and including the
Section 34l(a) Meeting Deadiine and waiving the requirement that the Debtors file the
Schedules and Statements upon confirmation of the Prepackaged Pian and (ii) convene the
Section 34i(a) l\/leeting through and including the Section 34l(a) Meeting Deadline and Waiving
the requirement that the Debtors convene the Section 34l(a) Meeting if the Prepackaged Pian is
confirmed by the Section 34l(a) Meeting Deadline; and (f) granting related reiief, all as more
fully set forth in the l\/[otion; and the Court having jurisdiction to consider the Motion and the
relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order
ofReference from the United States District Court for the District of DelaWare, dated February
29, 2012; and consideration of the Motion and the requested relief being a core proceeding
pursuant to 28 U.S.C. § 157(b); and venue being proper before the Court pursuant to 28 U.S.C.
§§ 1408 and 1409; and due and proper notice of the Motion having been provided to the Notice
Parties; and Such notice having been adequate and appropriate under the circumstances, and it
appearing that no other or further notice need be provided; and the Court having reviewed the
Motion; and the Court having held a hearing to consider the relief requested in the Motion (the
“Hearing”); and upon the First Day Declaration and the record of the Hearing; and the Court
having detemiined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein;, and it appearing that the relief requested in the Motion is in the best

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interests of the Debtors, their estates, creditors, and ail parties in interest; and upon all of the
proceedings had before the Court; and after due deliberation and sufficient cause appearing
therefor,

IT IS HEREBY ORDERED THAT:

1. The Motion is granted to the extent set forth herein

2. The Combined Hearing (at Which time the Bankiuptcy Court Wili consider,
among other things, the adequacy of the Disclosure Statement and the Solicitation Procedures,
and confirmation of the Prepackaged Plan) Will be held before the Honorable Laure Selber
Silverstein, United States Banl<ruptcy Judge, in courtroom #2 of the United States Bankruptcy
Court for the District of Deiaware, 824 Market Street, 6th Floor, Wilmington, Delavvare, on
January 4, 2019, at 1:30 p.m. (ET) (prevailing Eastern Time). The Cornbined Hearing may
be adjourned from time to time Without further notice other than an announcement of the
adjourned date or dates in open court or at the Combined Hearing and notice of such adjourned
date(s) Wili be available on the electronic case filing docket.

3. Any objections to the approval of the Disclosure Staternent, the Solicitation
Procedures, or confirmation of the Prepaclcaged Pian must: (a) be in Writing; (b) state the name
and address of the objecting party and the amount and nature of the claim or interest of such
party; (c) state the legal and factual basis for and nature of any objection; (d) conform to the
Bankruptcy Rules and the Local Rules; and (e) be filed With the Banl<ruptcy Court, together With
proof of service, so as to be received by no later than 5:00 p.m. (prevailing Eastern Time) on
December 21, 2018. In addition to being filed With the Bankruptcy Court, any such responses or

objections must be served on the Notice Parties, Which are set forth below:

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the Debtors, c/o David’s Bridal, Inc., 1001 Washington Street,
Conshohocken, PA 19428, Attn: Lori Cochran Kinkade;

the Office of the United States Trustee for the District of DelaWare (the
“U.S. Trustee”), 844 King Street, Suite 2207, Lockbox 35, Wilmington,
DE 19801, Attn: Timothy Fox (Timothy,Fox@usdoj.gov);

proposed counsel to the Debtors, (i) Debevoise & Plimpton LLP, 919
Third Avenue, New York, NY 10022, Attn: M. Natasha Labovitz
(nlabovitz@dehevoise.com) and (ii) Young Conavvay Stargatt & Taylor
LLP, Rodney Square, 1000 North King Street, Wiimington, DE 19801,
Attn: Edmon Morton (emorton@ycst.com);

counsel to the agent for the proposed debtor-in~possession lenders,
(i) Morgan, Lewis & Bockius LLP, 101 Park Avenue, NeW York, NY
10178, Attn: Glenn Siegel (glenn.siegel@morganlewis.com) and
(ii) Morgan, LeWis & Bockius LLP, One Federal Street, Boston, MA
02110, Attn: Matthew Furlong (rnatthevv.furiong@morganlewis.com);

counsel to the ad hoc term lender group, Jones Day, 250
Vesey Street, New York, NY 10281, Attn: Scott J.
Greenberg (sgreenberg@jonesday.com) and Michael J. Cohen
(mcohen@jonesday.com);

counsel to Oaktree Capitai Management, L.P., Paul, Weiss, Riikind,
Wharton & Garrison LLP, 1285 Avenue of the Americas, NeW York, NY
10019, Attn: Aian Kornberg (akornberg@paulweiss.com) and John T.
Weber @Weber@paulweiss.com);

counsel to the Supporting Sponsors, Cole Schotz P.C., 500 Delaware
Avenue, Suite 1410, Wiimington, DE 19801, Attn: Norrnan L.
Pernick (npernick@coleschotz.com) and Kate Stici<ies
(kstickles@coieschotz.com); and

counsel to Soiace Capital Partners, L.P., (i) Fried, Frank, Harris, Shriver &
Jacobson LLP, One NeW York Piaza, NeW York, NY 10004, Attn: Brad
Eric Scheier (brad.scheler@friedfrank.com) and Peter B. Siroka
(peter.siroka@friedfranl<.com) and (ii) Morris, Nichois, Arsht & Tunnell
LLP, 1201 N l\/fari<et St. #1800, Wilmington, DE 19801, Attn: Derek C.
Abbott (dabbott@mnat.com).

Objections, if any, not timely filed and served in the manner set forth above may,

in the Court’s discretion, not be considered and may be overruied.

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5. The Debtors shall file their brief and declaration in support of confirmation of the
Prepackaged Plan, their reply to any objections thereto, and the proposed Confirmation Order no
later than 4:00 p.m. (ET) on December 28, 2018. A party in interest also may file a reply to an
objection to confirmation of the Prepackaged Plan no later than three business days before the
Combined Hearing.

6. The Debtors are authorized to combine the notice of the Combined Hearing and
notice of the commencement of the chapter ll cases.

7. Notice of the Combined Hearing as proposed in the Motion and the form of
Combined Notice, substantially in the form attached hereto as Exhibit 1, shall be deemed good
and sufficient notice of the Combined Hearing and no further notice need be given; provided that
any provision of Banl<ruptcy Rule 3017(d) requiring the Debtors to distribute the Disclosure
Statement and the Prepackaged Plan to parties not entitled to vote, Whether because they are
unimpaired or because they are deemed to reject the Prepackaged Plan, or any parties in interest
other than as prescribed in this Order, shali be Waived. The Debtors shall cause Donlin to mail a
copy of the Combined Notice to the Combined Notice Recipients Within two business days of the
entry of this Order or as soon as reasonably possible, provided that the Combined Notice is
served at least 28 days prior to the PlanfDisclosure Statement Objection Deadline.

8. To the extent the Nominees incur out~of-pocl{et expenses in connection With
distribution of the Combined Notice, the Debtors are authorized, but not directed, to reimburse
such entities for their reasonable and customary expenses incurred in this regard.

9. Substantially contemporaneously With the service of the Combined Notice, the
Debtors shall cause to be posted to the Website various chapter ll related documents, including,

among others, the following: (a) the Prepackaged Plan; (b) the Disclosure Statement; (c) the

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Motion and this Order; and (d) the Combined Notice. The Website address is:
www.donlinrecano.com/davidsbridal.

10. The Debtors are authorized, pursuant to Banl<ruptcy Rule 2002(1), to give
supplemental publication notice of the Combined Hearing by publishing a notice of the
Combined Hearing as soon as reasonably practicable, but on a date no later than 14 days prior to
the Combined Hearing.

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prepetition solicitation of acceptances for the Prepackaged Planjqbepm§ilwmt to an approvetff§§-
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disclosure statement to continue on a postp;ntipnbahis, the Court conditionally approves the

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Disclosure Statement as hyingnd€quate information as required by section 1125 of the

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Banln'uptq)§,ode/Wifl;ut prejudice to any party in interest objecting to the Disclosure Statement

12. The notice procedures set forth in the l\/lotion and herein constitute good and
sufficient notice of the commencement of the chapter ll cases, the Combined Hearing, and the
deadlines and procedures for objecting to the adequacy of the Disclosure Statement and the
Solicitation Procedures, confirmation of the Prepacl<aged Plan, and the assumption of executory
contracts and unexpired leases, and no other or further notice shall be necessary.

13. The time Within Which the Debtors shall file their Schedules and Statements is
extended through and including February 4, 2019 (the “Schedules and Statements Deadline”),
Without prejudice to the Debtors’ right to seek further extensions of the time Within Which to file
the Schedules and Statements or to seek additional relief from this Court regarding the filing of,

or Waiver of the requirement to file, the Schedules and Statements; provided that the requirement

that the Debtors file the Schedules and Statements is permanently Waived effective upon the date

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of confirmation of the Prepacl<aged Plan, if confirmation of the Pi‘epackaged Plan occurs on or
before the Schedules and Statements Deadline.

14. The Section 34l(a) Meeting shall be deferred until the Schedules and Statements
Deadline and shall be Waived if confirmation of the Prepackaged Plan occurs on or before the
Schedules and Statements Deadline.

15. The Ballots, substantially in the forms attached to the Motion as Exhibits B-l,
&2, and B_-?), are conditionally approved pending final approval though the Confirmation Order.

16. The procedures proposed for tabulation of votes to accept or reject the
Prepacl<aged Plan as set forth in the Motion and as provided by the Ballots are conditionally
approved pending final approval through the Contirrnation Order.

17. Any objections to the assumption of executory contracts and unexpired leases
must: (a) be in Writing, (b) conform to the applicable Banl<ruptcy Rules and Local Rules; (c) set
forth the name of the objecting party, the basis for the objection, and the specific grounds
thereof; (d) be filed With the Bankruptcy Court, together With proof of service, and served upon
the Notice Parties, so as to be received by 110 later than fourteen (14) days after service of the
Assumption Notice.

18. The Assumption Notice, substantially in the form attached hereto as Exhibit 2, is
approved. The Debtors shall transmit the Assumption Notice to all applicable counterparties to
executory contracts and unexpired leases at least 21 days prior to the Plan/DS Objection
Deadline.

19. The Debtors are authorized to take all actions necessary to implement the relief

granted in this Order.

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20. This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation and/or enforcement of this Order.

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